                                         Case 3:19-cv-04238-MMC Document 159 Filed 05/12/20 Page 1 of 1




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                                  4                           IN THE UNITED STATES DISTRICT COURT

                                  5                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      PROOFPOINT, INC., et al.,                       Case No. 19-cv-04238-MMC
                                                       Plaintiffs,                       ORDER DENYING DEFENDANTS'
                                  8
                                                                                         MOTION FOR RELIEF FROM NON-
                                                 v.                                      DISPOSITIVE PRETRIAL ORDER OF
                                  9
                                                                                         MAGISTRATE JUDGE; DENYING AS
                                  10     VADE SECURE, INCORPORATED, et                   MOOT DEFENDANTS' MOTION TO
                                         al.,                                            STAY
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is defendants' Motion, filed May 4, 2020, "for Relief from
                                  14   Nondispositive Pretrial Order of Magistrate Judge." Plaintiffs, although not required to do
                                  15   so, see Civil L.R. 72-2, have filed opposition.
                                  16          Having fully considered the matter, the Court finds defendants have failed to show
                                  17   the subject order is clearly erroneous or contrary to law, and, accordingly, the Motion for
                                  18   Relief is hereby DENIED. See 28 U.S.C. § 636(b)(1)(A) (providing district court may
                                  19   reconsider magistrate judge’s order where it has been shown to be "clearly erroneous or
                                  20   contrary to law").
                                  21          In light of the above, defendants' Motion, filed May 4, 2020, "to Stay Related
                                  22   Discovery Pending Final Disposition of Defendants' Motion for Relief from Nondispositive
                                  23   Pretrial Order of Magistrate Judge" is hereby DENIED as moot.
                                  24          IT IS SO ORDERED.
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                                  26   Dated: May 12, 2020
                                                                                               MAXINE M. CHESNEY
                                  27                                                           United States District Judge
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